       Case 1:21-mi-55555-JPB Document 663 Filed 09/29/23 Page 1 of 7




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


IN RE GEORGIA SENATE BILL 202                 Master Case No.:
                                              1:21-MI-55555-JPB



   STATE DEFENDANTS’ MOTION FOR EXTENSION OF TIME TO
          FILE MOTIONS FOR SUMMARY JUDGMENT

      State Defendants respectfully request a one-week extension of their

deadline to file motions for summary judgment. Those motions are currently

due by October 26, 2023. See ECF No. 580. As set forth below, there is good

cause to grant the requested relief, which will not substantially delay the

proceedings in this matter. In advance of filing this Motion, counsel for State

Defendants conferred with counsel for Plaintiffs, and Plaintiffs oppose the

requested relief.

      In this case, Plaintiffs filed several motions for preliminary injunctions,

and the parties jointly requested that motions for summary judgment be due

after briefing on those preliminary injunction motions was complete. See ECF

No. 571 at 1. At that time, the parties agreed to propose that summary

judgment motions be due 9 weeks after the last reply brief is filed relating to

motions for preliminary injunction. See id. at 2. And, as State Defendants
       Case 1:21-mi-55555-JPB Document 663 Filed 09/29/23 Page 2 of 7




explained the parties’ joint status report, they “reserve[d] the right to seek to

amend the deadline to file motions for summary judgment if the Court

schedules hearing(s) on the motions for preliminary injunction.” Id.

      On May 30, 2023, Plaintiffs filed a motion for a preliminary injunction

on their intentional-discrimination claims (ECF No. 566), and, at Plaintiffs’

request (ECF No. 611), the Court scheduled an evidentiary hearing. With just

one week to prepare for that hearing, State Defendants were required to divert

substantial attention away from summary judgment briefing to prepare for the

hearing that the Court held on September 22, 2023.             That delay has

substantially impaired State Defendants’ ability to complete the summary

judgment motions by October 26, 2023. 1

      To be sure, Plaintiffs may not have experienced the same scheduling

impact from the hearing, as they will be filing at most a single summary

judgment motion. See ECF No. 571 at 3. State Defendants, however, are

currently preparing seven motions for summary judgment to address

Plaintiffs’ myriad claims. Those motions will span nearly 300 pages, and they

will be supported by a statement of material facts with up to 1,000 paragraphs.



1  For the same reasons, the Court recently granted a similar one-week
extension in related litigation. See Min. Order, Coalition for Good Governance
v. Raffensperger, No. 1:21-cv-2070-JPB (N.D. Ga. Sept. 22, 2023).

                                       2
       Case 1:21-mi-55555-JPB Document 663 Filed 09/29/23 Page 3 of 7




That is an enormous task, and State Defendants require a brief extension of

time to ensure that they can provide the Court and Plaintiffs with motions that

thoroughly address the many issues raised in these cases.

      As noted above, Plaintiffs oppose this brief extension of time. In the

main, Plaintiffs oppose this short extension for two reasons: (1) the schedule

has been known since June 16, 2023, and thus State Defendants have had

adequate time to work on the motions for summary judgment; and (2) altering

State Defendants’ deadline will negatively impact Plaintiffs’ schedule.

      On the first, State Defendants do not dispute that the Court entered its

scheduling order on June 16, 2023. But that misses the point. Rather, the

parties spent the next two months briefing many preliminary injunction

motions, where the last reply brief was not filed under August 24, 2023. See

ECF No. 618. That is why the parties jointly proposed that summary judgment

briefing would be delayed until nine weeks after the final reply brief was filed.

Because State Defendants lost one of those weeks to preparing for the hearing

that Plaintiffs requested, it is reasonable to extend the summary judgment

schedule by one week. 2


2 Additionally, while Plaintiffs state that the parties have been aware of the

briefing schedule since June, State Defendants note that the parties were also
aware that State Defendants would seek an extension of that schedule if a
hearing was scheduled on the preliminary injunction motions. Knowing that

                                       3
       Case 1:21-mi-55555-JPB Document 663 Filed 09/29/23 Page 4 of 7




      Regarding Plaintiffs’ second objection, State Defendants appreciate that

a similar one-week extension of the opposition deadline would make

oppositions due by December 28, 2023. Understanding that this falls during

the holidays, State Defendants offered to discuss any additional time Plaintiffs

wished for the oppositions to minimize any scheduling issues. Other than

stating their opposition to this Motion, Plaintiffs have not suggested any

alternative dates for the opposition deadline. State Defendants reiterate their

willingness to consent to the Court’s providing additional time for the

summary judgment oppositions to account for the holidays.

      For the foregoing reasons, State Defendants request that the Court

extend by one week the deadline for submitting summary judgment motions.

Such a brief extension of time will not substantially delay the resolution of

these motions. As noted, Plaintiffs oppose this request. State Defendants

respectfully request that the Court direct Plaintiffs to file any response to this

Motion by October 3, 2023, and State Defendants will file any reply by October

4, 2023. State Defendants requested Plaintiffs’ position on September 19,

2023, but Plaintiffs were not able to provide a position until September 28,

2023. Expediting briefing on this Motion will ensure that the Court can resolve


to be the case, Plaintiffs requested a hearing on their motion. They were thus
on notice that such a hearing would impact the summary judgment briefing.

                                        4
      Case 1:21-mi-55555-JPB Document 663 Filed 09/29/23 Page 5 of 7




the Motion quickly enough to allow the parties to prepare their summary

judgment motions.

     Respectfully submitted this 29th day of September, 2023.

                                  Christopher M. Carr
                                  Attorney General
                                  Georgia Bar No. 112505
                                  Bryan K. Webb
                                  Deputy Attorney General
                                  Georgia Bar No. 743580
                                  Russell D. Willard
                                  Senior Assistant Attorney General
                                  Georgia Bar No. 760280
                                  Elizabeth Vaughan
                                  Assistant Attorney General
                                  Georgia Bar No. 762715
                                  State Law Department
                                  40 Capitol Square, S.W.
                                  Atlanta, Georgia 30334

                                  /s/ Gene C. Schaerr
                                  Gene C. Schaerr*
                                  Special Assistant Attorney General
                                  Erik Jaffe*
                                  H. Christopher Bartolomucci*
                                  Donald M. Falk*
                                  Brian J. Field*
                                  Edward H. Trent*
                                  Nicholas P. Miller*
                                  Annika B. Barkdull*
                                  SCHAERR | JAFFE LLP
                                  1717 K Street NW, Suite 900
                                  Washington, DC 20006
                                  (202) 787-1060
                                  gschaerr@schaerr-jaffe.com

                                  *Admitted pro hac vice

                                    5
Case 1:21-mi-55555-JPB Document 663 Filed 09/29/23 Page 6 of 7




                            Bryan P. Tyson
                            Special Assistant Attorney General
                            Georgia Bar No. 515411
                            btyson@taylorenglish.com
                            Bryan F. Jacoutot
                            Georgia Bar No. 668272
                            bjacoutot@taylorenglish.com.
                            Diane Festin LaRoss
                            Georgia Bar No. 430830
                            dlaross@taylorenglish.com
                            Taylor English Duma LLP
                            1600 Parkwood Circle
                            Suite 200
                            Atlanta, Georgia 30339
                            (678) 336-7249
                            Counsel for State Defendants




                              6
       Case 1:21-mi-55555-JPB Document 663 Filed 09/29/23 Page 7 of 7




                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), I certify that this document has been prepared

in Century Schoolbook 13, a font and type selection approved by the Court in

L.R. 5.1(B).

                                          /s/ Gene C. Schaerr
                                          Gene C. Schaerr




                                      7
